       Case 3:23-cv-00850-IM         Document 43         Filed 10/24/23      Page 1 of 25




                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



 ANDREW CHARLES NISBET,                              Case No. 3:23-cv-00850-IM

                Petitioner,                          OPINION AND ORDER DENYING
                                                     THE PETITION FOR RETURN OF
        v.                                           CHILDREN UNDER THE HAGUE
                                                     CONVENTION ON THE CIVIL
 SPIRIT ROSE BRIDGER,                                ASPECTS OF INTERNATIONAL
                                                     CHILD ABDUCTION
                Respondent.

Bradley C. Lechman-Su, 1000 SW Broadway St., Suite 2300, Portland, OR 97205. Attorney for
Petitioner.

Katelyn D. Skinner and Katrina Seipel, Buckley Law, P.C., 5300 Meadows Road, Suite 200,
Lake Oswego, OR 97035. Attorneys for Respondent.

IMMERGUT, District Judge.

       This matter arises out of an international dispute over two children, five-year-old ACN

and three-year-old KRN. In June 2022, the children and their mother, Respondent Spirit Rose

Bridger, left Scotland for the United States, and have lived in Oregon ever since. The children’s

father, Petitioner Andrew Nisbet, argues that Respondent took their children in violation of the

Hague Convention on the Civil Aspects of International Child Abduction (“Convention”). The


PAGE 1 – OPINION AND ORDER DENYING PETITION FOR RETURN
       Case 3:23-cv-00850-IM          Document 43         Filed 10/24/23       Page 2 of 25




Convention mandates that a child wrongfully removed from her country of “habitual residence”

must be returned to that country unless a return poses a grave risk of harm to the child or

otherwise places the child in an intolerable situation. Invoking the Convention, Petitioner has

filed a petition requesting that the children be returned to Scotland. Petition for Return, ECF 1.

       This Court held a three-day expedited court trial in this matter beginning on October 16,

2023. ECF 39. Based on the evidence presented through witnesses and exhibits, and considering

the arguments presented in the pleadings and written closing arguments, this Court DENIES the

Petition for Return.

       The evidence compels two conclusions. First, Petitioner has failed to prove by a

preponderance of the evidence that the children’s habitual residence was Scotland. The evidence

shows that the children did not have a settled permanent home in Scotland before arriving in the

United States. They were unsettled largely because Petitioner killed his mother in August 2019

and then was detained and committed to a secure psychiatric facility in England. Indeed, one of

the children was not yet born at the time of those events. Second, even assuming the children’s

habitual residence was Scotland before they moved to Oregon, the Convention does not require a

return of the children because Respondent has shown by clear and convincing evidence that a

return to Scotland would present a grave risk of harm or otherwise place the children in an

intolerable situation. The children have no familial support network there. Their father,

Petitioner, remains indefinitely committed to a secure in-patient psychiatric health facility. And

Petitioner has a history of violent and coercive behaviors that constitute major risk factors for

domestic abuse.

                               PROCEDURAL BACKGROUND

       On June 12, 2023, Petitioner filed his Hague Convention petition requesting that his

children be returned to Scotland, which he asserts is their habitual residence. Petition for Return,
PAGE 2 – OPINION AND ORDER DENYING PETITION FOR RETURN
       Case 3:23-cv-00850-IM           Document 43         Filed 10/24/23       Page 3 of 25




ECF 1. The Petition was served on August 9, 2023. ECF 9. Respondent entered appearance on

August 23, 2023. ECF 8. Six days later, Respondent filed her response, ECF 10, and on

September 5, she requested that an expedited trial be held the next week, citing the Hague

Convention’s aspiration for every petition to be resolved within six weeks, ECF 11 at 1–2. See

Chafin v. Chafin, 568 U.S. 165, 179–80 (2013) (urging district courts to expedite Convention

cases); Holder v. Holder, 392 F.3d 1009, 1023 (9th Cir. 2004) (same). On September 13, 2023,

this Court held a telephonic status conference to set an expedited case management schedule and

a two-and-a-half-day trial for October 16–18, 2023. ECF 13. Both Parties agreed to this

schedule, which was proposed by Petitioner in writing. This Court presided over a trial on those

dates. 1 ECF 35, 38, 39.

                                      FINDINGS OF FACT

       This Court makes the findings of fact below based on the exhibits submitted and the

testimony presented at trial. Both Parties agreed to substantially relax the rules of evidence, and

this Court accepted all exhibits that were submitted or read into evidence. See Farr v. Kendrick,

No. CV-19-08127-PCT-DWL, 2019 WL 2568843, at *2 (D. Ariz. June 21, 2019) (“Rule

1101(d)(3) of the Federal Rules of Evidence provides that the Rules of Evidence ‘do not apply’

to ‘miscellaneous proceedings such as . . . extradition and rendition,’ and [a Hague Convention]

proceeding is—in the Court’s view—similar to an extradition proceeding.”), aff’d, 824 F. App’x

480 (9th Cir. 2020). Like the Farr Court, this Court concluded that the most expeditious

procedure, particularly given Petitioner’s confinement abroad, would be “to apply a relaxed




       1
         During trial, this Court at times permitted Petitioner to interject, to confer with his
attorney over the courtroom’s videocall system, and to ask witnesses questions because
Petitioner is abroad in a secure facility and seemingly had greater access to documents.

PAGE 3 – OPINION AND ORDER DENYING PETITION FOR RETURN
       Case 3:23-cv-00850-IM          Document 43         Filed 10/24/23       Page 4 of 25




admissibility standard during the hearing and then discount the evidentiary value of any dubious

evidence during the fact-finding process.” Id. 2

A. Events Preceding Petitioner Killing His Mother

       1. Beginning of Petitioner and Respondent’s Relationship

       Petitioner and Respondent met in 2012 through a video game that they both played. Ex.

108A ¶ 4.3; Ex 108B at 11, ¶ 37. They first met in person in New York City, and after Petitioner

completed his medical studies in 2013, they traveled together to New Zealand. Ex. 108A ¶ 4.3;

Ex. 108B at 11, ¶ 37. Following the trip to New Zealand, Petitioner and Respondent moved to

Edinburgh, Scotland in 2015.

       Respondent Bridger presented testimony, which this Court found credible, about her

relationship with Petitioner. Respondent testified that as the relationship developed, Petitioner

exerted increasing control over Respondent. Respondent had no say in where they would live.

Petitioner strictly budgeted Respondent’s spending, and Respondent needed to seek approval if

she sought to make purchases above ten British pounds. He refused to let her buy clothes above a

certain size. He would give her extra money if she performed “sexual chores,” such as using

certain sex toys on herself that she would not have used otherwise. He wanted her to get multiple

plastic surgeries, which she did not want. Petitioner expected that Respondent be there to greet

him when he got home every day; he would not accept any excuse, even that she was out to buy

groceries. Respondent wished to finish her college degree, but Petitioner would not support this




       2
          Because of the expedited nature of this case, this Court’s opinion cites exhibits but not a
trial transcript because an official transcript would not have been available within an expeditious
timeline. Even so, the findings here reflect this Court’s consideration of all evidence including
exhibits and trial testimony and this Court’s credibility determinations.

PAGE 4 – OPINION AND ORDER DENYING PETITION FOR RETURN
       Case 3:23-cv-00850-IM          Document 43         Filed 10/24/23       Page 5 of 25




unless it was a degree he approved. Because she was afraid of the consequences of

noncompliance, Respondent rarely disobeyed Petitioner’s directions.

       2. Moving to Jersey and the Deterioration of Petitioner’s Mental State

       In the Spring of 2017, Respondent became pregnant with their son, ACN, in Scotland.

Ex. 108A ¶ 4.8. Around this time, Petitioner’s lifelong attachment to his parents’ home on the

Island of Jersey, a small country outside the U.K., grew into an obsession. Id. ¶¶ 4.8, 5.3.5–5.3.6.

       In the Summer of 2017, Petitioner’s parents informed him that they wished to sell their

home in Jersey. Id. ¶ 4.9. Petitioner did not take this news well. He offered to put money into the

property so that he, Respondent, their coming son, and his parents could live together as a

family. Id. His parents refused.

       This refusal led to Petitioner’s first suicide attempt. In November 2017, when Petitioner

and Respondent still resided in Scotland, Petitioner tried to commit suicide by injecting air into

his veins to cause an embolism. Ex. 108B at 13, ¶ 43; Ex. 108A ¶ 5.4.1. This attempt failed. The

same month, following the suicide attempt, Petitioner and Respondent arrived unannounced at

his parents’ home in Jersey, intending to move in. 108A ¶¶ 5.3.8, 5.4.2. Petitioner’s parents

reluctantly allowed Petitioner and Respondent to stay in the annex to the house, id.; Ex. 108B at

64, ¶ 106—a small one bedroom apartment with a kitchenette. After a couple of months,

Petitioner’s parents asked Petitioner and Respondent to leave. Ex. 108A ¶¶ 5.3.8, 5.4.2.

       In response, Petitioner again attempted suicide. In January 2018, at his parents’ home in

Jersey, Petitioner threw himself out of a window twenty feet above the ground. Ex. 108B at 13–

14, ¶¶ 43–44; id. at 52, ¶ 33; Ex. 108A ¶¶ 5.3.8, 5.4.3. Petitioner severely fractured his feet and

his spine. He was bedridden for nine-and-a-half months. Ex. 108B at 14, ¶ 45. Petitioner has

reported at times that he felt no choice but to jump. Ex. 108A ¶ 5.4.4; Ex. 108B at 13–14, ¶ 44.



PAGE 5 – OPINION AND ORDER DENYING PETITION FOR RETURN
       Case 3:23-cv-00850-IM          Document 43         Filed 10/24/23       Page 6 of 25




On other occasions, he has said that his suicide attempts were not serious attempts and were a

method to have people follow his demands. 3 Ex. 114 ¶ 9.7; see also Ex. 108B at 71, ¶ 150.

       At the time of the second suicide attempt, Respondent was eight months pregnant, and

her caesarean section had been scheduled to occur in two weeks. Respondent gave birth to ACN

on February 1, 2018 in Jersey. See Ex. 2d. Petitioner was not present. For the first eight months

of ACN’s life, Respondent cared for ACN with little involvement from Petitioner due to his

injuries. And because Petitioner was bedridden and refused to put Respondent on car insurance,

Respondent could not drive, further hampering her ability to take care of herself and her child.

       Respondent moved back to Scotland with ACN—without Petitioner—in August 2018.

Six months later, she returned to Jersey, to the home of Petitioner’s parents, after Petitioner

assured her that the family issues had been resolved.

       From February to August 2019 the situation in Jersey deteriorated further. During these

months, the police and psychiatric services were called on multiple occasions to the home in

Jersey. Petitioner’s parents continually refused to accept Petitioner and Respondent’s family

there. In response, Petitioner would become extremely upset, frustrated, and angry and would

express those feelings through acts of violence. Ex. 108A ¶ 5.2.5. It is unrefuted that Petitioner

would often smash his head into a wall or banister, sometimes several times a day. See, e.g., id.

He broke a plastic table by smashing it with his hands. Id. Petitioner would throw furniture

around. Ex. 114 ¶¶ 10.6–10.14. Various responders noted Petitioner’s suicide threats, explosive


       3
          Petitioner contests the relevance and reliability of Ex. 114, a Domestic Homicide
Review conducted by an independent investigator appointed by the Jersey Government.
Petitioner’s protests are unpersuasive. The document’s sources are Jersey Government agencies,
Ex. 114 ¶¶ 4.7–4.8, and the investigation was conducted according to guidelines established by
the United Kingdom Home Office, id. at 5. The Review’s purpose was to understand the
circumstances leading to the death of Petitioner’s mother. This Court thus views the Review’s
fact-finding as reliable, though this Court does not rely on its conclusions or opinions.

PAGE 6 – OPINION AND ORDER DENYING PETITION FOR RETURN
       Case 3:23-cv-00850-IM             Document 43        Filed 10/24/23       Page 7 of 25




behavior, refusals of treatment, and unceasing belief that his parents, not he, needed to change

their stance concerning the house in Jersey. 4 Id. ¶¶ 9.17–9.21; Ex. 108B at 25–30, ¶ 88.

Petitioner’s father told responders that Petitioner consistently tried to manipulate him. Ex. 108B

at 20, ¶ 67. Petitioner’s brother described Petitioner as controlling in his relationships, id. at 22,

¶ 77, and he denied Petitioner any contact with the brother’s children, Ex. 108A ¶ 5.2.6.

Petitioner pulled his mother’s hair and would harass his parents for hours at a time. See, e.g., Ex.

114 ¶ 9.17. Petitioner sometimes cornered his father and Respondent. Petitioner would demand

to know everything occurring in Respondent’s life and would instruct her to seek his permission

to do anything. In that vein, Petitioner told Respondent not to inform anyone else in her life

about the situation in Jersey. He told her to get rid of her daily journals because they cast him in

a bad light.

        During this period, in the Summer of 2019, Respondent became pregnant with her second

child, KRN. 5 Respondent packed her bags to prepare for a move back to Oregon with ACN and

discussed a potential move with Petitioner several times. See, e.g., Ex. 108B at 57, ¶ 66

(Petitioner writing in March 2019 that Respondent might leave for the United States); id. at 58,

¶ 76 (same observation in April 2019); id. at 65, ¶ 118 (Petitioner observing in July 2019 that

Respondent would likely be deported from Jersey).




        4
          A psychiatric report from May 5, 2020, commissioned by the Attorney General of
Jersey, corroborates these reports with considerable first-hand quotes from various sources,
particularly medical reporters, who interacted with Petitioner in the events leading up to the
killing. See Ex. 108B at 50–72, ¶¶ 25–159.
        5
            There is no dispute that Petitioner is KRN’s biological father.

PAGE 7 – OPINION AND ORDER DENYING PETITION FOR RETURN
       Case 3:23-cv-00850-IM            Document 43          Filed 10/24/23         Page 8 of 25




        Petitioner’s parents issued a notice of eviction to the Parties on August 2, 2019. Ex. 108A

¶ 9.4. Petitioner threatened to commit suicide if his parents followed through with the eviction.

Ex. 108B at 71, ¶ 154.

        3. Petitioner Kills His Mother

        On August 6, 2019, Petitioner approached his mother in the kitchen to dissuade her from

evicting him and his family. Respondent and infant ACN were present for the beginning of the

encounter, but they departed the room because the argument between Petitioner and his mother

grew more rancorous. Ex. 108B at 16–17, ¶ 53. Minutes later, Petitioner, who had a Leatherman

pocketknife in his pocket, stabbed his mother in the neck. Id. at 17, ¶¶ 54–55; Ex. 108A ¶¶ 9.5,

9.8. He says he cannot remember the act.

        Petitioner was soon arrested. A pregnant Respondent and eighteen-month-old ACN were

taken to a refuge in Jersey. Petitioner’s family severed all contact with the Parties and ACN.

B. Events After Petitioner’s Arrest

        After his arrest, Petitioner pleaded guilty to manslaughter on the basis of diminished

responsibility. Ex. 102 at 2 (Judgment of Jersey Royal Court). Petitioner was ordered to serve an

indefinite term in a secure psychiatric facility. Id. at 4, ¶¶ 2–3. The Royal Court likewise ordered

that a medical examiner provide a report every nine months on Petitioner’s health and progress.

Id. The Royal Court issued a restraining order that, among other things, bars Petitioner from

contacting his father, brother, or his brother’s family. Id. at 4, ¶ 4(i)–(viii).

        After two weeks in the Jersey refuge, Respondent and ACN moved to a halfway house in

Jersey. During their stays at the refuge and halfway house, Respondent contemplated moving

back to Oregon, but she decided against doing so because she was pregnant and lacked health

insurance in the United States. See Ex. 118 at 1 (Petitioner writing that Respondent was seriously



PAGE 8 – OPINION AND ORDER DENYING PETITION FOR RETURN
       Case 3:23-cv-00850-IM          Document 43        Filed 10/24/23       Page 9 of 25




considering a move back to the United States in Fall 2019). In late 2019, Respondent and ACN

moved back to Scotland for her to give birth.

       On February 27, 2020, KRN was born. Ex. 2e. At that time, the COVID-19 pandemic had

begun and borders between countries were closing to contain the disease. Before Respondent

could make an appointment at the United States Consulate in Edinburgh to apply for KRN’s

Passport and Consular Report of Birth Abroad, the Consulate closed.

       Respondent maintained a civil relationship with Petitioner. She did so because she knew

that she would need Petitioner’s signature to obtain KRN’s paperwork. She also needed funds as

she was unemployed. See Ex. 124 (email exchange showing that Respondent asked for needed

funds and that Petitioner responded with a budget he set). And her U.K. visa was expiring. 6 See

Exs. 20–22. She had to call him five or six times a day, spending an hour per call. Petitioner told

Respondent to drink alcohol before their calls so that she would be “happy.” Petitioner

ghostwrote letters to tribunals and medical care providers as if they had been written by

Respondent and had Respondent send those letters. See Exs. 121–22. He gave her scripts to

follow when calling individuals on his behalf. See Exs. 112, 123. He forced Respondent to

provide him with a PDF of her signature so that he could sign letters under her name. If she ever

refused to engage or pushed back, Petitioner would get angry and harass Respondent. In one

instance, after Respondent did not respond to a call from Petitioner, he repeatedly called and

messaged Respondent, demanding to know where she was. When she did not respond, he

threatened to call the police to break her door down—with no regard for the safety of the

children. Following this threat, Respondent complied with Petitioner’s demands and called him



       6
         The uncertainty over KRN’s paperwork and the visa meant that Respondent explored
the possibility of permanent residence in Scotland to stay with her children.

PAGE 9 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM          Document 43        Filed 10/24/23       Page 10 of 25




back. Petitioner made similar threats several times, such that Respondent discretely sought help

from a member of her weekly knitting club. 7

       The children lived in Petitioner’s apartment in Scotland. Although they attended nursery

in Scotland, they did not have any friends or family there. Petitioner communicated with the

children over Skype from the psychiatric facility every day for an hour. Petitioner read stories

and played games with them, but often, after a short period, the children stopped paying attention

to Petitioner on the screen. Petitioner would get upset and demand that Respondent direct the

children back to the screen.

       After the killing, Petitioner saw ACN four times and KRN three times. Respondent and

ACN first visited Petitioner in person in November 2019. Respondent visited Petitioner with

both children in June, July, and December 2021. At the December 2021 visit, Petitioner signed

the paperwork Respondent needed to acquire KRN’s U.S. passport and Consular Report of Birth

Abroad. It is unrefuted that Respondent told Petitioner that she intended to move to the United

States once KRN had her passport—a possibility Petitioner acknowledged, see Ex. 110 ¶ 3(c). In

2022, Petitioner appealed to a tribunal for his release. Respondent expressed great anxiety to

Rayya Ghul over Petitioner’s potential release. The appeal was ultimately denied.

       On June 17, 2022, Respondent departed Scotland for the United States with ACN and

KRN. In the months before departing Scotland, Respondent sent several boxes of her and her

children’s possessions to her current home in Portland, Oregon.




       7
          This individual, Rayya Ghul, testified at trial and corroborated Respondent’s testimony.
She is a therapist with decades of experience, and Respondent confided in her for that reason.

PAGE 10 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM          Document 43         Filed 10/24/23       Page 11 of 25




C. Events Since the Children’s Arrival in the United States

       The children have resided in Oregon for 15 months at the time of this Opinion’s issuance.

The children are U.S. citizens; ACN also has a Jersey passport, and KRN a Scottish passport.

The children have Social Security Numbers. Ex. 106 (ACN letter); Ex. 107 (KRN letter). They

both have health insurance. Ex. 105. They have a wide network of friends and family including

Respondent’s two brothers, mother, and stepfather, as well as close friends to Respondent and

her family—all of whom testified. There has been minimal contact between Respondent and

Petitioner since the removal. In Oregon, the children have never mentioned their father—who

has never lived in the same home as KRN and lived for a total of a year, on and off, with ACN.

D. Petitioner’s Indefinite Confinement

       Petitioner has been sentenced to an indefinite period of psychiatric confinement. After the

killing, he was first held at Brockfield House. Ex. 102 at 2; Ex. 127 at 2. In April 2021,

Petitioner was transferred to a facility called St. Andrew’s. Ex. 127 at 2. There, Petitioner may

roam the grounds unescorted. Id. Petitioner was not discharged after a request for release was

heard in September 2023. 8 Both Brockfield House and St. Andrew’s are in England; Petitioner

has not lived in Scotland since 2017.

       At St. Andrew’s, Petitioner has continued to display behaviors like those he showed in

Jersey. On May 18, 2023, a month before filing his Hague Petition, Petitioner threatened to

attack staff when he was moved between wards. Petitioner has refused treatment recommended

by St. Andrew’s, insisting that he receive therapy from his personal therapist, Jane Pointon,



       8
        Petitioner provided no documents on the tribunal hearing despite several requests by
Respondent and orders by this Court. Petitioner insists that this is because of U.K. laws requiring
permission to provide documents. But Petitioner launched this suit in June—he had an
independent obligation to begin seeking permission in advance of the trial he sought.

PAGE 11 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM            Document 43          Filed 10/24/23       Page 12 of 25




whom he has seen since 2017. Petitioner has also decided that mindfulness methods, not

intensive therapy, suffice as treatment. See Ex. 31 at 2. This is so despite the fact that even

Petitioner’s own expert did not see any document recommending Petitioner go without

therapeutic treatment. Finally, in confinement, Petitioner has apparently at times barricaded

himself from hospital staff, punched walls, banged his head against a window, and had physical

altercations with the staff. See, e.g., Ex. 120 at 1.

                                     CONCLUSIONS OF LAW

A. General Framework of the Convention

        In 1980, the Hague Convention was adopted “to address the problem of international

child abductions during domestic disputes.” Monasky v. Taglieri, 140 S. Ct. 719, 723 (2020)

(brackets and citation omitted). Both the United States and the United Kingdom are signatories.

Chafin, 568 U.S. at 170. The United States has ratified the treaty and enacted implementing

legislation, the International Child Abduction Remedies Act (“ICARA”), 22 U.S.C. §§ 9001–

9011. Under ICARA, federal courts have jurisdiction over Convention petitions and must decide

cases “in accordance with the Convention.” Id. § 9003(a), (d).

        The Convention “seeks ‘to secure the prompt return of children wrongfully removed to or

retained in any Contracting State.’” Chafin, 568 U.S. at 168 (quoting Hague Convention, art. 1,

19 I.L.M. at 1501). To that end, Article 3 provides that the removal of a child is wrongful when it

breaches a person’s rights of custody “under the law of the State in which the child was

habitually resident immediately before the removal.” Hague Convention, art. 3, 19 I.L.M. at

1501. When a child’s removal violates Article 3, “the judicial . . . authority of the Contracting

State where the child is . . . shall order the return of the child.” Art. 12, id. at 1502. But a court

need not order a child’s return to her habitual residence if “there is a grave risk that [the child’s]



PAGE 12 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM            Document 43        Filed 10/24/23       Page 13 of 25




return would expose the child to physical or psychological harm or otherwise place the child in

an intolerable situation.” Art. 13(b), id.

B. Petitioner Has Failed to Establish that the Children Were Habitually Resident in
   Scotland

        Petitioner must show by a preponderance of the evidence that the children’s habitual

residence on June 17, 2022 was Scotland. 22 U.S.C. § 9003(e). “[A] child’s habitual residence,”

the Supreme Court has instructed, “depends on the specific circumstances of the particular case.”

Monasky, 140 S. Ct. at 727. “No single fact . . . is dispositive across all cases.” Id. Highly

relevant are “facts indicating that the parents have made their home in a particular place,” id. at

729, and the “child’s conduct and experiences,” which must show that the child was “‘firmly

rooted’ in her . . . surroundings, not merely . . . acculturated to a country’s language or customs.”

Karkkainnen v. Kovalchuk, 445 F.3d 280, 292 (3d Cir. 2006) (quoting Holder, 392 F.3d at 1019).

At bottom, “this factual inquiry is guided by common sense.” Kenny v. Davis, No. 21-35417,

2022 WL 501625, at *1 (9th Cir. Feb. 18, 2022).

        This Court agrees with Respondent that Petitioner has failed to meet his burden. Rather,

the preponderance of the evidence compels the conclusion that, on June 17, 2022, ACN and

KRN lacked a habitual residence altogether.

        ACN was born in Jersey in February 2018, only a month after Petitioner had thrown

himself out a window and suffered serious foot and spinal injuries. Soon after, ACN left for

Scotland with his mother, who was trying to escape the discord in the Jersey home wrought by

Petitioner’s behavior. See Douglas v. Douglas, No. 21-1335, 2021 WL 4286555, at *6 (6th Cir.

Sept. 21, 2021) (Sutton, C.J., White & McKeague, J.J.) (reasoning that a child’s stay in a place

was “merely transitory” when he consistently moved between “temporary housing”). Because

Petitioner was bedridden for most of ACN’s early life, Petitioner only raised ACN in earnest for


PAGE 13 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM          Document 43         Filed 10/24/23      Page 14 of 25




the six months between February and August 2019. During those months, moreover, Respondent

repeatedly contemplated moving back to Oregon because of the situation in Jersey, and

Petitioner knew this.

       KRN was born in February 2020. When she was born, Petitioner was in custody, and

Respondent and ACN had been shuttled through Jersey shelters before finding housing in

Scotland. Even before Respondent had given birth to KRN, she had contemplated moving back

to Oregon, but decided against it because she lacked health insurance in the United States. She

told Petitioner multiple times that she intended to leave Scotland with the children, and he

signed KRN’s passport paperwork. See Monasky, 140 S. Ct. at 727 (explaining that “intentions

and circumstances of caregiving parents are relevant considerations” (emphasis added)).

       The children had no family or friends in Scotland and no meaningful relationship with

their father. Petitioner has never lived with KRN and met her in person only three times.

Petitioner lived with ACN for a total of a year, on and off, and for a substantial amount of that

time, he was bedridden from his second suicide attempt. And Respondent was in the U.K. on an

expiring visa. See Kijowska v. Haines, 463 F.3d 583, 587–88 (7th Cir. 2006) (Posner, J.) (placing

great weight on the mother’s immigration status and the fact that the child had been raised solely

by the mother). Petitioner himself has not lived in Scotland for several years.

       It follows from the children’s lack of connection to Scotland and Respondent’s clear

intent (which Petitioner understood) that the children’s habitual residence was not Scotland. As

the Ninth Circuit has explained:

               When a child is born under a cloud of disagreement between
               parents over the child’s habitual residence, and a child remains of a
               tender age in which contacts outside the immediate home cannot
               practically develop into deep-rooted ties, a child remains without a
               habitual residence because “if an attachment to a State does not
               exist, it should hardly be invented.”

PAGE 14 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM          Document 43         Filed 10/24/23      Page 15 of 25




In re A.L.C., 607 F. App’x 658, 662 (9th Cir. 2015) (quoting Holder, 392 F.3d at 1020) (holding

that a child born in the United States was not habitually resident there because she was too young

to form roots and the parents disagreed about where to settle down). Or as the Third Circuit has

explained, “where [parental] conflict is contemporaneous with the birth of the child, no habitual

residence may ever come into existence.” Delvoye v. Lee, 329 F.3d 330, 333 (3d Cir. 2003)

(Alito, McKee & Schwarzer, J.J.) (holding that a child’s habitual residence could not be Belgium

even though the child was born there because the child had no clear roots in Belgium and the

mother did not intend to live there). This reasoning resolves this case in Respondent’s favor.

       Moreover, evidence of Petitioner’s coercive behavior also supports this outcome.

Petitioner levied many demands on Respondent in exchange for his signature and money—

including daily hours-long phone calls—and he threatened her, in ways that could also harm the

children, when she did not meet his demands. See Monasky, 140 S. Ct. at 727 (explaining that

whether a “caregiving parent had been coerced into remaining” in a country is a relevant factor).

On the evidence, Petitioner used his children as leverage to force Respondent to stay.

       In sum, the facts here amply prove that the children lacked meaningful connection to

Scotland, that their caregiving parent had long intended to move to Oregon, and that their

absentee parent had coerced their caregiver into remaining longer than she wished. The children

did not have a habitual residence on June 17, 2022; this Court therefore denies the Petition. 9




       9
          This Court thus need not decide whether Petitioner had custodial rights over his children
at the time of removal, whether he exercised those rights, or whether he consented to the
children’s removal.

PAGE 15 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM           Document 43         Filed 10/24/23       Page 16 of 25




C. Respondent Has Proven by Clear and Convincing Evidence that Returning the
   Children to Scotland Poses a Grave Risk of Harm and Intolerable Situation to the
   Children

        Even assuming the children’s habitual residence was Scotland at the time of removal, this

Court also denies the Petition because Respondent has proven by clear and convincing evidence

that the children face a grave risk of harm or an intolerable situation if returned to Scotland. See

22 U.S.C. § 9003(e)(2). Under Article 13(b)’s grave risk inquiry, “the question is whether the

child [if returned] would suffer serious abuse that is a great deal more than minimal.” Gaudin v.

Remis, 415 F.3d 1028, 1035 (9th Cir. 2005) (quotation marks and citations omitted), abrogated

on other grounds by Golan v. Saada, 142 S. Ct. 1880 (2022). On the grave risk inquiry,

Respondent presented the testimony of Dr. Landon Poppleton, who discussed the risk factors for

domestic violence. Petitioner presented the testimony of Dr. James McGuire, who considered

whether Petitioner has a personality disorder.

        The facts here compellingly show that a return to Scotland poses ACN and KRN a grave

risk of harm and intolerable situation. Because sending the children alone to Scotland while

Petitioner is confined is facially an intolerable situation, see Neumann v. Neumann, 310 F. Supp.

3d 823, 828–30 (E.D. Mich. 2018), this Court considers the probable circumstances if Petitioner

is released in the future.

        Petitioner has an extended record of violence that meets the major risk factors for

domestic violence. Domestic violence is crucially relevant to the grave risk defense. As the Ninth

Circuit has recounted, “[t]he case law reflects that ‘domestic violence is a common inciter to

“abduction”—the abused spouse flees and takes her children with her.’” Colchester v. Lazaro, 16

F.4th 712, 717 (9th Cir. 2021) (quoting Khan v. Fatima, 680 F.3d 781, 784 (7th Cir. 2012)).

“Th[e] ‘grave risk’ defense thus reflects the proposition that ‘the remedy of return . . . is

inappropriate when the abductor is a primary caretaker who is seeking to protect herself and the
PAGE 16 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM          Document 43         Filed 10/24/23      Page 17 of 25




children from the other parent’s violence.” Id. (quoting Khan, 680 F.3d at 784); see Morales v.

Sarmiento, Civil Action No. 4:23-CV-00281, 2023 WL 3886075, at *11–13 (S.D. Tex. June 8,

2023) (Ellison, J.) (gathering cases). So courts may consider evidence of a parent’s history of

abuse, or threats of abuse, to determine the probability and magnitude of risk to the child. See,

e.g., Gomez v. Fuenmayor, 12 F.3d 1005, 1012–14 (11th Cir. 2016) (gathering cases and

considering petitioning parent’s prior violent acts toward others).

       Dr. Poppleton identified several risk factors for domestic violence. These include the

history of how one has handled conflict; instances of violence; financial control; attempts at

isolating a romantic partner; gender-based control; suicidal ideation; denying a romantic

partner’s perception of reality; and negative attitudes toward authority. Dr. Poppleton also

emphasized that a risk assessment must focus on who an individual is “behind closed doors.” Cf.

Van De Sande v. Van De Sande, 431 F.3d 567, 570 (7th Cir. 2005) (“Because of the privacy of

the family and parental control of children, most abuse of children by a parent goes

undetected.”).

       All risk factors are present here. Petitioner has attempted suicide twice, once by throwing

himself out a window. He routinely threatened suicide when his parents did not give him what he

wanted. He destroyed furniture, screamed, pulled his mother’s hair, and cornered people. He

routinely smashed his head against walls in front of others. He killed his mother because she

would not comply with his demands. While in confinement, he forced Respondent to call him for

many hours at a time every day, and when she refused to comply, he threatened her. He harassed

her at all times of the day. He periodically refused treatment, barricading himself, banging his

head against windows, and fighting with nurses. He capitalized on Respondent’s reliance on

him—for financial support and for KRN’s travel paperwork—to force her to perform tasks on his



PAGE 17 – OPINION AND ORDER DENYING PETITION FOR RETURN
       Case 3:23-cv-00850-IM          Document 43         Filed 10/24/23       Page 18 of 25




behalf. Indeed, Petitioner has controlled Respondent since early in their relationship. In total, the

clear and convincing evidence here shows that Petitioner poses a grave risk of harm to his

children.

        Petitioner has given inconsistent testimony to those meant to diagnose him. For one, he

has stated at times that his suicide threats were genuine and other times that they were tools to

manipulate his parents. And he misinformed his own expert, Dr. McGuire, about his intentions

for his children, telling Dr. McGuire that he desisted from seeking custody of his children—in an

interview held two weeks after Petitioner began this suit, see Ex. 6a ¶¶ 2, 11. 10 This means that

Petitioner has deliberately made it more difficult for his caretakers to properly treat him. Indeed,

evidence was presented that Petitioner has threatened his caretakers and has refused treatment.

Petitioner’s apparent lack of self-awareness and insight, lack of candor, and resistance to

treatment buttress this Court’s conclusion that Petitioner poses a grave risk and intolerable

situation to his children. 11

        This Court’s conclusion is consistent with the holdings of various courts across this

country. In Baran v. Beaty, 526 F.3d 1340 (11th Cir. 2008), the Eleventh Circuit affirmed the

denial of a petition for return where the district court found that the petitioning father “was

emotionally unstable and prone to uncontrolled destructive outbursts of rage, was physically and

verbally abusive towards the child’s mother in the child’s presence, and physically endangered



        10
        Petitioner testified that there must have been a misunderstanding, but this Court finds
Dr. McGuire’s perception to be more credible on this point.
        11
          There are more independent reasons why this Court accords little weight to Petitioner’s
testimony. First, Petitioner was ordered to provide documents expressly reviewed by his expert,
but under the guise of doing so, Petitioner instead produced non-responsive, self-serving
documents that he then entered as exhibits for his own case. Second, during the trial, Petitioner
repeatedly interrupted witnesses and displayed a lack of impulse control.

PAGE 18 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM           Document 43         Filed 10/24/23       Page 19 of 25




the child, both intentionally and unintentionally.” Silva v. Dos Santos, 68 F.4th 1247, 1255 (11th

Cir. 2023) (citing 526 F.3d at 1345–46). The Eleventh Circuit was explicit: the district court

“was not required to find [the child] had previously been physically or psychologically harmed”

to deny return. Baran, 526 F.3d at 1346. Rather, it just needed to find that return to the father

posed a grave risk of harm to the child. Id. And in Gomez v. Fuenmayor, the Eleventh Circuit

explained that threats made against a parent could be credibly seen as presaging a risk of harm to

the child because “it requires no stretch of the imagination to conclude that serious, violent

domestic abuse repeatedly directed at a parent can easily be turned against a child” or to foresee

“the powerful effect that a pattern of serious violence directed at a parent may have on [a]

child[].” 812 F.3d at 1014.

       Similarly, in Walsh v. Walsh, 221 F.3d 204 (1st Cir. 2000), the First Circuit reversed the

district court for failing to properly consider a petitioning father’s history of violence and

temperamental behavior. Id. at 219–20. As the Court summarized:

               In our view, the district court committed several fundamental
               errors: it inappropriately discounted the grave risk of physical and
               psychological harm to children in cases of spousal abuse; it failed
               to credit John’s more generalized pattern of violence, including
               violence directed at his own children; and it gave insufficient
               weight to John’s chronic disobedience of court orders. The
               quantum here of risked harm, both physical and psychological, is
               high. There is ample evidence that John has been and can be
               extremely violent and that he cannot control his temper. There is a
               clear and long history of spousal abuse, and of fights with and
               threats against persons other than his wife. These include John’s
               threat to kill his neighbor in Malden, for which he was criminally
               charged, and his fight with his son Michael.

Id. The First Circuit held that the district court’s cardinal error was failing to understand the

implications of the above facts for the children’s safety. Id. at 220. The First Circuit reasoned

that “both state and federal law have recognized that children are at increased risk of physical

and psychological injury themselves when they are in contact with a spousal abuser.” Id.
PAGE 19 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM           Document 43         Filed 10/24/23       Page 20 of 25




       Acosta v. Acosta, 725 F.3d 868 (8th Cir. 2013), is also instructive. There, the Eighth

Circuit affirmed a district court’s denial of a return petition. The district court catalogued the

petitioning father’s long history of “inability to control his temper outbursts,” including

threatening others, threatening suicide, assaulting a taxi driver, and engaging in verbal abuse. Id.

at 876. The Eighth Circuit held that it did not matter that “there [was] little evidence that [the

petitioning father] physically abused the children,” because what mattered was whether the

father’s history proved that a return to him would pose a grave risk of harm. Id.

       And in Van de Sande, the Seventh Circuit, speaking through Judge Posner, reversed a

district court for failing to find a grave risk of harm. 431 F.3d 567. Judge Posner reasoned that a

petitioning parent’s threat of violence toward his children—understood in the context of his

“propensity for violence, and the grotesque disregard for the children’s welfare that he displayed

by beating his wife severely and repeatedly in their presence and hurling obscene epithets at her

also in their presence”—amounted to a grave risk of harm to the children. Id. at 570.

       In the instant matter, although there was no evidence that Petitioner physically abused

Respondent or the children, there was evidence of coercive, manipulative, violent, and

threatening behavior directed at Respondent and Petitioner’s family. Such long-standing

behavior constitutes a grave risk of harm to ACN and KRN if they are returned. Moreover, while

the above cases focus largely on spousal abuse, Petitioner here has a broader history of familial

abuse against his mother, father, and brother as well as Respondent. Thus, the circumstances here

are even more concerning than the already severe facts of the cases above.

       Finally, the grave risk of displacing the children is starker still when juxtaposed with

depriving the children of their mother and their support network in Oregon. As the Second

Circuit has explained, “the fact that a child is settled may form part of a broader analysis of



PAGE 20 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM           Document 43        Filed 10/24/23       Page 21 of 25




whether repatriation will create a grave risk of harm,” though it cannot be categorically

dispositive. Blondin v. Dubois, 238 F.3d 153, 164 (2d Cir. 2001), abrogated on other grounds by

Golan, 142 S. Ct. 1880. 12 Because of the isolation of COVID-19 and Petitioner’s absence from

the children’s lives, they developed an especially strong bond with their mother. And in Oregon,

the children have family, friends, and social benefits that, if returned to Scotland, they would

lose in an extremely short time frame. As Dr. Poppleton testified, losing their mother, family,

and support network so quickly could have cascading effects on the children’s development and

health. Coupled with the risk posed by Petitioner, this clearly presents an intolerable situation

and grave risk to the children.

       Petitioner resists this conclusion, pointing to isolated statements in various reports about

his risk to the general public, but these statements are unavailing. As Dr. Poppleton testified,

statements about an individual’s risk to the general public cannot be abstracted to apply to

whether an individual is a risk to his children behind closed doors. And these statements largely

rest on interviews with Petitioner, when as Dr. Poppleton noted, assessing an individual’s risk

behind closed doors requires interviews with a wide range of individuals who have interacted

with Petitioner in such situations.

       Petitioner also heavily relies on the testimony of Dr. McGuire, but this Court accords

Dr. McGuire’s testimony little probative weight. To start, Dr. McGuire relied on over 1,400

pages of documents that Petitioner failed to produce for Respondent despite multiple requests

and multiple orders by this Court. Without those documents, Respondent could not properly


       12
          Courts, however, must be “careful to establish the connection between the fact that [the
children] were settled and the grave risk of harm” in returning the children, Blondin, 238 F.3d at
165, since the exception “is not a license for a court in the abducted-to country to speculate on
where the child would be happiest.” Gaudin, 415 F.3d at 1035 (quoting Friedrich v. Friedrich,
78 F.3d 1060, 1068 (6th Cir. 1996)).

PAGE 21 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM             Document 43       Filed 10/24/23      Page 22 of 25




cross-examine Dr. McGuire, and this Court could not properly evaluate the probative value of

Dr. McGuire’s testimony about Petitioner. Although this Court did not strike Dr. McGuire’s

testimony, it cannot give Dr. McGuire’s testimony much weight given Petitioner’s failures in

discovery. See Fed. R. Civ. P. 37(c).

       And even putting these discovery issues aside, Dr. McGuire’s expert opinion lacks

credibility. To start, Dr. McGuire testified that he was asked by Petitioner only to determine if

Petitioner had a personality disorder, not to assess the risk he poses to his children. Moreover,

Dr. McGuire states that Petitioner does not require any treatment—rather, in Dr. McGuire’s

view, Petitioner’s killing his mother, attempting suicide, and threatening suicide, resulted from a

unique combination of stress, anxiety, and depression that is no longer extant. This diagnosis is

simply not believable in light of all of the facts. Dr. McGuire did not believe it was “optimistic”

to have children returned to a father locked in a psychiatric facility, and he did not view killing

one’s mother as an “anti-social behavior.” Dr. McGuire also knew that clinicians at St. Andrew’s

had a “very negative view of [Petitioner],” but discounted these views altogether. And Dr.

McGuire could not name a single report he had reviewed concerning Petitioner that “cast

[Petitioner] in a good light.” Dr. McGuire testified that it was a “conflict” between Petitioner and

his parents that led to the circumstances around the killing, but he at no point addressed the fact

that Petitioner himself created those circumstances by forcing his parents to let him live with

them in Jersey beginning in Fall 2017.

       What is more, Dr. McGuire’s analysis hinges largely on questionable sources of

information: interviews with Petitioner, Petitioner’s close friend Mr. Nick Harper, and

Petitioner’s personal therapist Jane Pointon, whom Petitioner saw during the time that Petitioner

imperiled his family and eventually killed his mother. Dr. McGuire did not speak to anyone else;



PAGE 22 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM           Document 43         Filed 10/24/23       Page 23 of 25




he did not even talk to Petitioner’s father or brother, who have restraining orders against

Petitioner. He did not interview Petitioner’s former employers or colleagues. His understanding

of Petitioner’s family history and history of violence is exclusively based on Petitioner’s

testimony. He did not know that Petitioner had thrown objects, nor did he know that police had

been called to Petitioner’s parents’ home in Jersey several times—despite his claim that he had

reviewed “past reports.”

       Further, as noted above, Petitioner seemingly misled Dr. McGuire about his intentions for

the children. Dr. McGuire did not know at the time of the interview that Petitioner had filed a

Hague Convention petition. And Dr. McGuire’s only means of verifying Petitioner’s

representations, which he admitted could be self-serving, was to compare them with the

representations of Mr. Harper and Ms. Pointon, and with “past reports.” But it is unclear how Dr.

McGuire performed this verification or weighed the veracity of different interviews. For all these

reasons, Dr. McGuire’s testimony lacks the credibility to overcome Respondent’s evidence.

       Petitioner also offered a letter by Dr. Jane Radley, a consultant psychiatrist at the St.

Andrew’s facility, but her letter also lacks probative value. She wrote that Petitioner has shown

no intention to threaten or harm his children. But she relies exclusively on seeing Petitioner

interact with the children on four occasions in a heavily monitored facility—wholly inadequate

in this Court’s view and Dr. Poppleton’s. Dr. Radley’s letter moreover does not address

Petitioner’s history of violent, controlling, and obsessive behavior, nor does it address the fact

that Petitioner did not intend to kill his mother or cause extraordinary stress for his family but did

so anyway. Dr. Radley’s letter therefore holds no weight.

                                             *    *   *




PAGE 23 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM           Document 43         Filed 10/24/23         Page 24 of 25




       In sum, the children’s return to Scotland poses a grave risk of harm and intolerable

situation to them. For this reason, as well as the children’s lack of a habitual residence on June

17, 2022, this Court will not order that the children be returned to Scotland.

D. Petitioner’s Proposed Ameliorative Measures Are Unworkable

       Petitioner argues that this Court should order the children’s return to Scotland so that he

can visit them while they live under the supervision of either a live-in nanny or Petitioner’s

friend, Mr. Harper (who testified). This Court finds these ameliorative measures unworkable.

Golan, 142 S. Ct. at 1892–94 (giving district courts broad discretion to consider such measures).

       Because Petitioner is indefinitely detained and because the evidence, from even his own

expert, overwhelmingly shows that Petitioner’s confinement will only be relaxed over time, this

Court holds that any ameliorative measures would require this Court to meddle with long-term

arrangements abroad that this Court has no authority over. See id. at 1894 (instructing district

courts to avoid “weighing in on permanent arrangements”). For instance, Petitioner states that he

would visit his home in Edinburgh, progressing from escorted to unescorted visits. But it is

unclear when or if the authorities in England and Jersey will relax Petitioner’s restrictions. And

Advocate David Steenson, an expert on U.K. law, testified that the Government of Scotland

would need to independently permit Petitioner to enter the country even if he were permitted

unescorted leave by other authorities. This Court cannot interfere in that process.

       As for Petitioner’s proposal of supervision by a nanny or Mr. Harper, this Court has no

jurisdiction over either individual. 13 Nor is there any evidence that either individual is under the

supervision of a government agency in the U.K. See Van De Sande, 431 F.3d at 571 (“The



       13
        Mr. Harper has met the children twice. He does not know their ages or dates of birth.
He knows virtually nothing about the children. The children do not know him.

PAGE 24 – OPINION AND ORDER DENYING PETITION FOR RETURN
      Case 3:23-cv-00850-IM            Document 43         Filed 10/24/23       Page 25 of 25




rendering court must satisfy itself that the children will in fact, and not just in legal theory, be

protected if returned . . . .”). Given Petitioner’s indefinite confinement, this Court opining on the

involvement of child protective services to assure a safe return would also result in “weighing in

on permanent arrangements” that the U.K. authorities must resolve. And it is highly questionable

that Petitioner can afford a nanny at all: a single year (42,000 pounds) would deplete seventy

percent of what Petitioner believes are his current savings (60,000 pounds). This Court thus finds

such proposed ameliorative measures are unworkable. See Golan, 142 S. Ct. at 1894.

                                           CONCLUSION

        In sum, this Court DENIES the Petition for Return for two independent reasons.

        First, as to whether ACN and KRN’s habitual residence is Scotland, Petitioner has not

met his burden. Instead, a preponderance of the evidence shows that the children, ages four and

two at the time of removal, lacked any habitual residence at all. Accordingly, his Petition for

Return must be denied because ACN and KRN were not removed from their habitual residence.

        Second, as to whether a return to Scotland poses a grave risk of harm and intolerable

situation to the children, Respondent has met her burden by clear and convincing evidence. A

return to Scotland would either leave the children unsupervised or under the supervision of their

father who has a severe history of violence toward his own family. And this Court will not

consider ameliorative measures that ultimately fall under the ambit of U.K. authorities in

separate proceedings. For these reasons, too, the Petition must be denied.

        IT IS SO ORDERED.

        DATED this 24th day of October, 2023.


                                                        /s/ Karin J. Immergut
                                                        Karin J. Immergut
                                                        United States District Judge


PAGE 25 – OPINION AND ORDER DENYING PETITION FOR RETURN
